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 7
 8                        UNITED STATES DISTRICT COURT
 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
      REX SCHELLENBERG, an individual            CASE NO.: 2:18-cv-07670-CAS-PLA
                                                 [Assigned to the Hon. Christina A.
12                              Plaintiff,       Snyder]
13      v.
                                                 STIPULATED REQUEST TO
14 THE CITY OF LOS ANGELES, a                    CONTINUE DATES TO COMPLETE
   municipal entity, DOES 1-10,                  ADR AND EXCHANGE EXPERT
15                                               REPORTS
16
                               Defendant.        Date: January 13, 2020
17                                               Time: none
18                                               Ctrm: 8B
19
                                                 Judge: Hon. Christina A. Snyder

20                                               Action filed: Sept. 3, 2018
21                                               Status Conf: March 2, 2020
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           STIPULATED REQUEST TO CONTINUE ADR COMPLETION AND EXPERT REPORT EXCHANGE
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 1          The parties to the above-captioned action submit this STIPULATED REQUEST
 2    TO CONTINUE ADR COMPLETION AND VACATE THE DATE FOR EXPERT
 3    REPORT EXCHANGES. Both events are currently set to occur on January 13, 2020.
 4          The parties are engaged in settlement discussions and believe that they will reach
 5    agreement, avoiding the necessity to prepare for trial and provide information on experts.
 6    The parties require additional time to complete settlement discussions.
 7          Accordingly, they request that the Court extend the time to complete ADR to and
 8    through February 28, 2020. The parties will be prepared to address the settlement at the
 9    Status Conference now set for March 2, 2020.
10
11    DATED: January 13, 2020           LAW OFFICE OF CAROL A. SOBEL

12                                       By:         /s/
13                                             CAROL A. SOBEL
                                               Attorneys for Plaintiff SCHELLENBERG
14
15
      DATED: January 14, 2020           MICHAEL N. FEUER, CITY ATTORNEY
16
                                        SCOTT MARCUS, Chief, Civil Litigation Branch
17                                     GGABRIEL S. DERMER, ASST. CITY ATTORNEY
18                                      FELIX LEBRON, DEPUTY CITY ATTORNEY

19
20                                       By:         /s/
                                               FELIX LEBRON
21
                                               Deputy City Attorney
22                                             Attorney for Defendant
23                                             CITY OF LOS ANGELES

24
25    All parties concur in the form and content of this filing and have authorized the use of
26    their electronic signatures for filing this document. (L.R. 5-4.3.4(a)(2)(i))
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            STIPULATED REQUEST TO CONTINUE ADR COMPLETION AND EXPERT REPORT EXCHANGE
